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                             UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA


 ZHYRIADA, et al.

                     Plaintiff(s)

        v.

 HEALTHCARE REVENUE RECOVERY                         Civil Action No. 2:19-cv-5703
 GROUP, LLC, et al.

                     Defendant(s)


                      JOINT STATUS REPORT AND DISCOVERY PLAN
                             PURSUANT TO Fed. R. Civ. P. 26(f)

       Having conferred on September 30, 2020, the parties hereto present the following Joint

Status Report and Discovery Plan Pursuant to Fed. R. Civ. P. 26(f):

       1.       Discussion of Claims, Defenses, and Relevant Issues

                a.       Plaintiff’s Position

       The underlying circumstances of this matter relate to a collection letter sent Healthcare

Revenue Recovery Group, LLC (“Defendant”) to Iryna Zhyriada (“Plaintiff”) by, on or about

January 8, 2019, regarding Plaintiff’s alleged obligation to pay Nazareth Hospital (“Provider”) a

“Total Balance” and/or “Amt Owed” of $602.00. The alleged obligation to pay originated from

Plaintiff’s evaluation and treatment following a motor vehicle accident in February of 2018. On

December 14, 2019, Plaintiff initiated this class action, asserting that Defendant’s letter violated

Sections 1692e(2), 1692e(10), and 1692f(1) of the Fair Debt Collection Practices Act (“FDCPA”),

15 U.S.C. § 1692 et seq., because the Motor Vehicle Financial Responsibility Law (“MVFRL”),

75 Pa.C.S. § 1701 et seq., prohibited Defendant from collecting the total outstanding balance of

$602.00. See generally ECF Doc. 1.



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                b.     Defendant’s Position

       Defendant, Healthcare Revenue Recovery Group, LLC (“Defendant”), denies that it

violated the FDCPA when it sought to collect, on behalf of a medical provider, an outstanding

balance due on Plaintiff’s medical obligation owed to Emergency Care Services of PA. Plaintiff

alleges that Defendant should have applied a “reduction” pursuant to the Act 6 Amendments of

the Pennsylvania Motor Vehicle Financial Responsibility Law, 75 Pa.C.S. § 1797 (“Act 6”) before

seeking to collect her obligation. However, it is Defendant’s understanding that Act 6 does not

apply to Plaintiff because no insurance was involved regarding Plaintiff’s medical obligation. In

addition, Plaintiff never disputed her financial obligation with Defendant.

       Defendant also asserts that Plaintiff will not be able to certify a class in this case. Plaintiff

must demonstrate that the proposed class is “currently and readily ascertainable based on objective

criteria.” See Marcus v. BMW of N. Am., LLC, 687 F.3d 583, 593 (3d Cir. 2012). “If class

members are impossible to identify without extensive and individualized fact-finding or “‘mini-

trials,’” then a class action is inappropriate.” Id. It will be impossible, without deposing each

individual potential class member, his or her motor vehicle insurance carrier, and/or his or her

healthcare providers to confirm whether an account is subject to Act 6.

       2.       Informal Disclosures

       The parties have agreed to exchange Initial Disclosures by October 9, 2020.

       3.       Formal Discovery

       The parties anticipate conducting written discovery (interrogatories, requests for

production of documents, and requests for admission), as well as depositions. The parties

anticipate that they will need 150 days for discovery as third-party discovery will be likely.

       Defendant submits that the most efficient manner for this case to proceed is for discovery




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to be bifurcated to first address Plaintiff’s individual allegations that Defendant violated the

FDCPA. As set forth above, it is Defendant’s position that Act 6 does not apply to Plaintiff’s

obligation. The completion of this discovery will allow Defendant to immediately move for

summary judgment on this threshold issue. Bifurcation has the potential to save the parties and

this Court from the substantial costs and burdens associated with whole scale class action

discovery. Defendant is prepared to file a motion to fully brief its position on bifurcation.

          Plaintiff objects to bifurcation of discovery, because: (1) there is a significant overlap

between the merits of Plaintiff’s individual claim and that of the class; and (2) bifurcation will not

conserve judicial resources and will severely prejudice Plaintiff and Pennsylvania consumers,

whose rights Defendant has been violating. In this regard, Plaintiff asks that, to the extent

Defendant will ask the Court to engage in this “disfavored” 1 practice, it should do so by a formal

motion, so that Plaintiff would have an opportunity to respond to each of Defendant’s assertions.

          The parties do not anticipate retaining expert witnesses. Defendant has already served

Plaintiff with Interrogatories and Requests for the Production of Documents.

          4.       Electronic Discovery

          Having conferred on this issue, the parties do not anticipate any issues with parameters or

disclosure of electronically stored information. The parties do not anticipate taking substantial e-

discovery, and will consent to entry of the Court’s standard order (if any).

          5.       Expert Witness Disclosures

                   a.    Plaintiff’s Position

          Plaintiff does not anticipate retaining expert witnesses, but reserves the right do so.

                   b.    Defendant’s Position



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    See, e.g., Barr Labaratories, Inc. v. Abbott Laboratories, 978 F.2d 98, 115 (3rd Cir. 1992).


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       Defendant does not anticipate retaining expert witnesses but reserves the right to do so.

       6.       Early Settlement Resolution

       The parties intend to engage in settlement discussions once discovery is conducted and

their expected dispositive motions are resolved.

       7.       Dispositive Motions

       The parties shall have thirty (30) days after expiration of the discovery period to file any

dispositive motions.

       8.       Class-Related Motions

       If discovery is not bifurcated, Plaintiff intends to file her motion for class certification no

later than thirty (30) days after a final decision on the parties’ dispositive motions. Defendant

wishes to file a motion to bifurcate this case so that the issue of whether Plaintiff is subject to Act

6 can be determined first before there is any class action discovery. In the event discovery is

bifurcated, then Plaintiff will require an additional period to conduct written and deposition

discovery with respect to class issues and will seek class certification no later than thirty (30) after

this additional period of discovery concludes.

       9.       Trial

       The parties anticipate three (3) days for the trial of this matter. The parties do not agree to

refer this matter to a Magistrate Judge at this time.

       10.      Other matters

       None.




                            (SIGNATURES ON THE NEXT PAGE)




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